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AO 245B (Rev. 09/19) (VAE 3/25) Judgment in a Criminal Case
                                 Sheet I



                                           UNITED STATES DISTRICT COURT
                                                    Eastern District of Virginia
                                                              Alexandria Division

              UNITED STATES OF AMERICA                                )     JUDGMENT IN A CRIMINAL CASE
                                                                      )
                                  V.                                  )      Case Number:           l:24-cr-00249-PTG-I
                                                                      )
                 ASIF WILLIAM RAHMAN                                         USM Number:            46561-511
                                                                      )
                                                                      )
                                                                             Dorothy A. Jeffress, Esquire
                                                                             Deborah Curtis. Esquire
                                                                      )
                                                                             Dcrcndant's Attorney
                                                                      )

The defendant pleaded guilty to Counts 1 and 2 of the Indictment.
The defendant is adjudged guilty of:

 Title and Section                     Nature of Offense                                               Offense Ended              Count


                                       Willful Retention and Transmission of National Defense            10/17/2024                 1
 18 U.S.C.§ 793(e)
                                       Information


                                       Willful Retention and Transmission of National Defense            10/17/2024                2
 18 U.S.C. § 793(e)
                                       Information


   The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

   It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
circumstances.

                                                                          June 11.2025
                                                                          Date          osition of Judgment



                                                                          Signature of Judge
                                                                          Patricia Tolliver Giles. United States District Judge
                                                                          Name and Title ofJudge

                                                                          June 11.2025
                                                                          Date
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AO 245B (Rev. 09/19) (VAE 3/25) Judgmenl in a Criminal Case                                                         Page 2 of?
           Sheet 2 - Imprisonment

Case Number:                    I:24-cr-00249-PTG-1
Defendant’s Name:               RAHMAN, ASIF WILLIAM



                                                              IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term ofTHIRTY-SEVEN (37) MONTHS AS TO COUNTS 1 AND 2 TO BE SERVED CONCURRENTLY.


     S     The Court makes the following recommendations to the Bureau of Prisons:
               I.   The Court recommends that the Defendant be designated to FCI Petersburg.


     (HI   The defendant is remanded to the custody of the United States Marshal.




                                                                RETURN


I have executed this judgment as follows:

Defendant delivered on                                              to
at                                                              ^ with a certified copy of this Judgment.




                                                                 UNITED STATES MARSHAL



                                                        By
                                                                 DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) (VAE 3/25) Judgmenl in a Criminal Case                                                                      Page 3 of7
         Sheet 3 - Supervised Release


Case Number:                  I:24-cr-00249-PTG-l
Defendant’s Name:             RAHMAN, ASIF WILLIAM


                                                      SUPERVISED RELEASE

     Upon release from imprisonment, you will be on supervised release for a term of TWO (2) YEARS.


                                                  MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release on
      supervised release and at least two periodic drug tests thereafter, as determined by the court.
4.    □ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse, (check ifapplicable)
5.    □ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
      restitution, (check if applicable)
6.    □ You must cooperate in the collection of DNA as directed by the probation officer, (check if applicable)
7.    □ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense, (check if applicable)
8.    □ You must participate in an approved program for domestic violence, (check if applicable)

You must comply with the standard conditions listed in this judgment as well as with any other special conditions listed in this
Judgment.
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                                                                                                                                    Page 4 of?
AO 245B {Rev. 09/19) (VAE 3/25) Judgment in a Criminal Case
           Sheet 3 - Supervised Release


Case Number:                    l:24-cr-00249-PTG-I
Defendant's Name:               RAHMAN, ASIF WILLIAM


                                          STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.                                                                                                 ●    rr-    l    u        j
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person witliout first getting the permission of
      the probation officer.
9.  If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov


                                                                               Date
Defendant’s Signature
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AO 245B (Rev. 09/19) (VAE 3/25) Judgment in a Criminal Case
          Sheet 3A- Supervised Release

Case Number:                  I:24-cr-00249-PTG-l
Dcfeudani’s Name:             RAHMAN. ASIF WILLIAM


                                     SPECIAL CONDITIONS OF SUPERVISION
     1)   The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritances, judgments, and any
          anticipated or unexpected financial gains, to the outstanding court-ordered financial obligation, or in a lesser amount to be
          determined by the court, upon the recommendation of the probation officer.
     2)   The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
          officer.
     3)   The defendant shall provide the probation officer access to any requested financial information.
     4)   As reflected in the presentence report, the defendant presents a low risk of future substance abuse and therefore, the Court
          suspends the mandatory condition for substance abuse testing as defined by 18 U.S.C. 3563(a)(5). However, this does not
          preclude the United States Probation Office from administering drug tests as they deem appropriate.
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                                                                                                                              Page 6 of 7
AO 245B (Rev. 09/19) (VAE 3/25) iudgmenl in a Criminal Case
           Sheet Sa- Criminal Monetary Penalties

Case Number:                    l:24-cr-00249-PTG-l
Defendant’s Name:               RAHMAN, ASIF WILLIAM


                                               CRIMINAL MONETARY PENALTIES

  The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                         Assessment                Restitution       Fine

                         200.00 ($100                                25,000.00 as to
                                               $ N/A             $
  TOTALS             S per each Count                                each Count 1 & 2
                         1 &2)

● **
       Findings for the total amount of losses are required under Chapters I09A, 110, IlOA, and 113A of Title 18 for offenses committed
       on or after September 13, 1994, but before April 23, 1996.



        Payments of Restitution are to made payable to the Clerk, United States District Court, Eastern District of Virginia.
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                                                                                                                                        Page 7 of 7
AO 245B (Rev. 09/19) (VAE 3/25) Judgment in a Criminal Case
          Sheet 7 - Denial of Federal Benefits

Case Number:                    l;24-cr.00249-PTG-l
Defendant’s

                                                       SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A            Lump sum payment QfS50.200.00 due immediately, balance due
               □     not later than                                      , or

                □    in accordance with □ C, D D, □ E, or D F below; or

  B            Payment to begin immediately (may be combined with □ C, □ D, or □ F below); or

  C     □      Payment in equal                  (e.g., weekly, monthly, quarterly) installments of S         over a period of   (e.g.. months or
               years), to commence                    (e.g, 30 or 60 days) after the date of this judgment; or

   D    □      Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $        over a period of    (e.g, months or
               years), to commence                  (e.g, 30 or 60 days) after release from imprisonment to a term of supervision; or

   E    □       Payment during the term of supervised release will commence within        (e.g., 30 or 60 days) after release from
                imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at that
               time; or

   F    □       Special instructions regarding the payment of criminal monetary penalties:

Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

   □    The defendant shall pay the cost of prosecution.

   □    The defendant shall pay the following court cost(s):

   □    The defendant shall forfeit the defendant’s interest in the following property to the United States:


   Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
  assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
  including cost of prosecution and court costs.
